Case 3:08-cv-02918-GEB-JJH Document 8 Filed 12/05/08 Page 1 of 2 PagelD: 75

MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
Edward B. Deutsch, Esq.

1300 Mount Kemble Ave.

P.O. Box 2075

Morristown, New Jersey 07962-2075

(973) 993-8100

Attorneys for Defendant,

Paradigm Global Advisors, LLC

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
x
CHARLES PROVINI,
Civil Action No. 3:08-cv-02918-GEB-JJH
Plaintiff,
STIPULATION OF DISMISSAL
v. WITH PREJUDICE

PARADIGM GLOBAL ADVISORS, LLC,

Defendant. RECEIVED
DIC -5§ 2008

AT 830
xX WELLiAK 7. WALSH M
ERK

VLE

THIS MATTER having been amicably and fully resolved, the parties, by and between
their undersigned counsel, hereby stipulate and agree that:

(1) The Complaint filed by Plaintiff against Defendant is hereby dismissed with
prejudice; and

(2) ‘All of the terms and conditions of the Settlement Agreement and General Release

executed by the parties are incorporated herein by reference, as part of this Stipulation of

Dismissal,

4

Case 3:08-cv-02918-GEB-JJH Document 8 Filed 12/05/08 Page 2 of 2 PagellD: 76

It is so stipulated and agreed. The parties hereby consent to the form and entry of the

within Z.

Clad deg a

LA

Edward B. Deutsch, Esq.

MCELROY, DEUTSCH, MULVANEY
& CARPENTER, LLP

1300 Mount Kemble Avenue
Morristown, New Jersey 07962-2075
Tel: (973) 993-8100

Attorneys for Defendant

Dated: Decor 5 2008

Thom . mney Eg

ARSE ULT, WHIPPLE, FARMER,
FASSETT & AZZARELLO, LLP

560 Main Street

Chatham, New Jersey 07928

(973) 635-3366

Attorneys for Plaintiff

IT IS SO ORDERED:

ett E. Brown, Jr.
UnitedStates District Judge
